947 F.2d 943
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Byron Lee WRAY, Defendant-Appellant.
    No. 91-7604.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 25, 1991.Decided Oct. 29, 1991.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Durham.   Norwood Carlton Tilley, Jr., District Judge.  (CR-89-127;  CA-90-597-1)
      Byron Lee Wray, appellant pro se.
      David Bernard Smith, Assistant United States Attorney, Greensboro, N.C., for appellee.
      M.D.N.C.
      AFFIRMED.
      Before PHILLIPS and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Byron Lee Wray appeals from the district court's order refusing relief under 28 U.S.C. § 2255 (1988).   Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   United States v. Wray, No. CR-89-127;  No. CA-90-597-1 (M.D.N.C. May 31, 1991).   We deny Wray's Motion to Dismiss the indictment and his motion for release on bond pending disposition of this appeal.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    